                                       Case 5:25-cv-00951-PCP              Document 119       Filed 05/27/25      Page 1 of 3




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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     UNITED STATES OF AMERICA,                            Case No. 25-cv-00951-PCP (SVK)
                                   8                      Plaintiff,
                                                                                              ORDER RE JOINT DISCOVERY
                                   9                v.                                        STATEMENT OF PLAINTIFF AND
                                                                                              THIRD-PARTY GARTNER, INC.
                                  10     HEWLETT PACKARD ENTERPRISE
                                         CO., et al.,                                         Re: Dkt. No. 116
                                  11
                                                          Defendants.
                                  12
Northern District of California
 United States District Court




                                  13             Before the Court is a discovery dispute between Plaintiff and third-party Gartner, Inc.

                                  14   (“Garnter”). Dkt. 116 (“Joint Submission”). This case is essentially at the close of fact discovery

                                  15   (May 28, 2025) with an impending trial date of July 9, 2025. Dkt. 104 at 3. The Court has

                                  16   considered the Parties’ submission and the relevant guidance of Rules of Federal Civil Procedure

                                  17   26(b)(1) and 45 and determines that this matter can be resolved without oral argument. Civ. L.R.

                                  18   7-1(b).

                                  19             Plaintiff has served a wide-ranging document subpoena on Garner, seeking information

                                  20   regarding payments received by Gartner from Defendants Hewlett Packard Enterprise Co. and

                                  21   Jupiter Networks, Inc. (“Defendants”) as well as payments received from “all firms that sell

                                  22   wireless local area networking hard, software, and any Relevant Product.” Dkt. 116-1. Plaintiff

                                  23   argues that the information is necessary to show bias on behalf of a Gartner witness, Timothy

                                  24   Zimmerman, who appears on Defendants’ trial witness list. Dkt. 116 at 4. Gartner objects,

                                  25   asserting an overarching objection of undue burden and arguing specifically that information

                                  26   regarding payments by Defendants should be sought from Defendants; payments received from

                                  27   other WLAN providers is confidential and proprietary; and specific payments tied to Mr.

                                  28   Zimmerman is not information kept in the ordinary course of business. Dkt. 116, 6-9.
                                       Case 5:25-cv-00951-PCP            Document 119         Filed 05/27/25       Page 2 of 3




                                   1          Having carefully considered the relevancy and proportionality of Plaintiffs’ requests, as

                                   2   well as the burden as articulated by Gartner, the Court GRANTS-IN-PART and DENIES-IN-

                                   3   PART Plaintiffs’ requests for the following reasons:

                                   4      •   Requests 1 and 2 seek payment information made to Gartner by either of Defendants.

                                   5          Plaintiff does not respond to Gartner’s objection that the information should be obtained in

                                   6          the first instance from Defendants, other than to make a general statement that “seeking

                                   7          payment from Gartner is the most direct, convenient, and least burdensome way to obtain

                                   8          the needed information.” Dkt. 116 at 5. Plaintiff does not offer any facts as to how this

                                   9          statement would apply to payment information about Defendants. Accordingly, Plaintiff’s

                                  10          request as to categories 1 and 2 is DENIED. Fed. R. Civ. P. 26(b)(2)(C)(i), (ii).

                                  11      •   Requests 3 and 4 seek payment information made to Gartner by other WLAN service

                                  12          providers. This request is overbroad and unduly burdensome in light of the wide-ranging
Northern District of California
 United States District Court




                                  13          definition of “Compensation Value” (Dkt. 116-3 at 2 n.1) and the essentially unbounded

                                  14          definition of WLAN service provider in request no. 4. Dkt. 116-1. Plaintiff’s offer of

                                  15          compromise narrowing the request to six WLAN providers does not sufficiently lighten the

                                  16          burden. Further, these requests do not solicit information directly related to potential bias

                                  17          of the Gartner witness towards Defendants and as such is not proportional to the needs of

                                  18          the case. The sensitive, competitive, non-party nature of the information sought by these

                                  19          requests further reduces its proportionality to the needs of the litigation. For these reasons,

                                  20          Plaintiff’s request as to categories 3 and 4 is DENIED. Fed. R. Civ. P. 26(b)(1);

                                  21          45(d)(3)(B)(i)

                                  22      •   Request no. 5 is directed to payments to Gartner from Defendants specifically “in

                                  23          connection with work performed” by Zimmerman. Unlike request nos. 1 and 2, it is likely

                                  24          this level of specificity is maintained, if at all, only by Gartner. Unlike request nos. 3 and

                                  25          4, this request is directly related to the issue of bias and, if the records exist, proportional to

                                  26          the needs of the case. It is more narrowly drawn than the earlier requests, and the

                                  27          Government has further narrowed its request to data from 2022 to present and limited the

                                  28          scope of services to those related to WLAN, further enhancing its proportionality. Dkt.
                                                                                          2
                                       Case 5:25-cv-00951-PCP          Document 119       Filed 05/27/25      Page 3 of 3




                                   1         116-3. Gartner suggests that such information is not maintained in the ordinary course of

                                   2         business, which may be the case, but the request is deserving of a reasonable and diligent

                                   3         search. Accordingly, Plaintiff’s request as to request no. 5, as narrowed by the

                                   4         Government, is GRANTED to the extent such records exist in the ordinary course of

                                   5         business and can be located following a reasonable and diligent search. Fed. R. Civ. P.

                                   6         26(b)1. In its Proposed Order, Plaintiff requests a production date of June 23, 2025, and

                                   7         the Court adopts that date. Gartner is to commence its search immediately and keep the

                                   8         Plaintiff informed of its progress.

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                                  10         SO ORDERED.

                                  11   Dated: May 27, 2025

                                  12
Northern District of California
 United States District Court




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                                                                                                  SUSAN VAN KEULEN
                                  14                                                              United States Magistrate Judge
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